JS 44 (Rev. 10/20)                   Case 2:21-cv-02962-JP
                                                      CIVILDocument
                                                            COVER1SHEET
                                                                    Filed 07/02/21 Page 1 of 28
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
                                                                                                               Weber Gallagher Simpson Stapleton Fires & Newby, LLP
    Ellen Ragone                                                                                               Weber Gallagher Simpson Staple
    (b)   County of Residence of First Listed Plaintiff                Camden                                  County of Residence of First Listed Defendant Philadelphia
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
Caren N. Gurmankin, Esq., Console Mattiacci Law,
1525 Locust Street, 9th Fl., Philadelphia, PA 19102

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4   ✖ 4

                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                     400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                 820 Copyrights                   430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                               830 Patent                       450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                      New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                       840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖   442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             42 U.S.C. §2000e, et seq.; 42 U.S.C. §1981
VI. CAUSE OF ACTION                          Brief description of cause:
                                                                               Plaintiff was discriminated against based on her age and retaliated against.
VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                            in excess of $75,000                           JURY DEMAND:                X   Yes           No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
07/02/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                           MAG. JUDGE
                              Case 2:21-cv-02962-JP  Document
                                                UNITED           1 Filed
                                                       STATES DISTRICT   07/02/21 Page 2 of 28
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                         Cherry Hill, NJ 08003
Address of Plaintiff: ______________________________________________________________________________________________
                                     2000 Market Street, Suite 1300, Philadelphia, PA 19103
Address of Defendant: ____________________________________________________________________________________________
                                                   2000 Market Street, Suite 1300, Philadelphia, PA 19103
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      07/02/2021
DATE: __________________________________                     __________________________________________                                    205900
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

           Caren N. Gurmankin
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:


     X        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     X        Relief other than monetary damages is sought.


      07/02/2021
DATE: __________________________________                     __________________________________________                                    205900
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                      CASE MANAGEMENT TRACK DESIGNATION FORM
ELLEN RAGONE                                       :                          CIVIL ACTION
                                                   :
                         v.                        :
WEBER GALLAGHER SIMPSON                            :
                                                   :                          NO.
STAPLETON FIRES & NEWBY, LLP, et al.
 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
 (a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

 (b) Social Security – Cases requesting review of a decision of the Secretary of Health
     and Human Services denying plaintiff Social Security Benefits.                                   ( )

 (c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

 (d) Asbestos – Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                            ( )

 (e) Special Management – Cases that do not fall into tracks (a) through (d) that are
     commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
     management cases.)                                                                               ( )

 (f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( X)


 07/02/2021                                                          Plaintiff, Ellen Ragone
 Date                               Attorney-at-law                       Attorney for
  215-545-7676                    215-405-2900                         gurmankin@consolelaw.com

 Telephone                           FAX Number                           E-Mail Address


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               IN THE UNITED STATES DISTRICT COURT FOR
                THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________
                                        :
ELLEN RAGONE                            :
Cherry Hill, 08003                      :
                                        : CIVIL ACTION NO.
                            Plaintiff,  :
                                        :
        v.                              :
                                        :
WEBER GALLAGHER SIMPSON                 :
STAPLETON FIRES & NEWBY, LLP :
2000 Market Street, Suite 1300          :
Philadelphia, PA 19103                  :
                                        :
and                                     :
                                        :
WEBER GALLAGHER SIMPSON                 :
STAPLE                                  :
2000 Market Street, Suite 1300          :
Philadelphia, PA 19103                  :
                                        : JURY TRIAL DEMANDED
                                        :
                            Defendants. :
________________________________        :

                                     COMPLAINT

I.     INTRODUCTION

       Plaintiff, Ellen Ragone, brings this action against her former employers, Weber

Gallagher Simpson Stapleton Fires & Newby LLP and Weber Gallagher Simpson Staple

(“Defendants”). Despite an excellent performance history over eight (8) years of

employment, Defendants terminated Plaintiff at age fifty eight (58) and shortly after she

expressed her opposition to Defendants’ race discriminatory conduct.

       Defendants engaged in retaliatory conduct towards Plaintiff in violation of Title

VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”),

42 U.S.C. §1981 (“Section 1981”), the Pennsylvania Human Relations Act, as amended,
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43 P.S. § 951, et seq. (“PHRA”), and the Philadelphia Fair Practices Ordinance, as

amended, Phila. Code § 9-1100, et seq. (“PFPO”). Defendants also engaged in age

discriminatory conduct towards Plaintiff in violation of the Age Discrimination in

Employment Act, 29 U.S.C. §621, et seq. (“ADEA”), the PHRA, and the PFPO.

II.    PARTIES

       1.      Plaintiff, Ellen Ragone, is an individual and a citizen of the

state of New Jersey.

       2.      Plaintiff was born in October 1961. She was fifty eight (58) years old at

the time that Defendants terminated her employment.

       3.      Defendant, Weber Gallagher Simpson Stapleton Fires & Newby, LLP is

incorporated in Pennsylvania with a business address at 1811 Chestnut Street,

Philadelphia, PA 19103 and a principal place of business at 2000 Market Street, Suite

1300, Philadelphia, PA 19103.

       4.      Defendant, Weber Gallagher Simpson Staple, is incorporated in

Pennsylvania, and has a principal place of business at 2000 Market Street, Suite 1300,

Philadelphia, PA 19103.

       5.      Defendants are engaged in an industry affecting interstate commerce and

regularly does business in the Commonwealth of Pennsylvania.

       6.      At all times material hereto, Defendants employed more than fifteen (15)

employees.

       7.      At all times material hereto, Defendants acted by and through their

authorized agents, servants, workmen, and/or employees acting within the course and

scope of their employment with Defendants and in furtherance of Defendants’ business.




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       8.      At all times material hereto, Defendants acted as employers within the

meaning of the statutes which form the basis of this matter.

       9.      At all times material hereto, Plaintiff was an employee of Defendants

within the meaning of the statutes which form the basis of this matter.

       10.     Plaintiff was paid by Defendant Weber Gallagher Simpson & Staple.

III.   JURISDICTION AND VENUE

       11.     The causes of action which form the basis of this matter arise under Title

VII, the PHRA, and the PFPO.

       12.     The District Court has jurisdiction over Count I (Title VII) pursuant to 42

U.S.C. § 2000e-5 and 28 U.S.C. § 1331.

       13.     The District Court has jurisdiction over Count II (Section 1981) pursuant

to 28 U.S.C. §1331.

       14.     The District Court has jurisdiction over Count III (ADEA) pursuant to 29

U.S.C. §626(c) and 28 U.S.C. §1331.

       15.     The District Court has jurisdiction over all counts pursuant to 28 U.S.C.

§1332 since the amount in controversy in the present action exceeds the sum or value of

seventy five thousand dollars ($75,000), exclusive of interests and costs, and there exists

complete diversity of citizenship, as Plaintiff is a citizen of the state of New Jersey and

Defendants are not citizens of the state of New Jersey

       16.     The District Court has supplemental jurisdiction over Count IV (PHRA)

and Count V (PFPO) pursuant to 28 U.S.C. § 1367.

       17.     Venue is proper in the District Court under 28 U.S.C. §1391(b) and 42

U.S.C. § 2000(e)-5(f).




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       18.     On or about April 17, 2020, Plaintiff filed a Complaint of Discrimination

with the Pennsylvania Human Relations Commission (“PHRC”), complaining of acts of

discrimination and retaliation alleged herein. This Complaint was cross-filed with the

Equal Employment Opportunity Commission (“EEOC”). Attached hereto, incorporated

herein, and marked as Exhibit “1” is a true and correct copy of the EEOC Charge of

Discrimination (with personal identifying information redacted).

       19.     On or about May 3, 2021, the EEOC issued to Plaintiff a Notice of Right

to Sue for her Complaint of Discrimination. Attached hereto, incorporated herein, and

marked as Exhibit “2” is a true and correct copy of the Notice of Right to Sue (with

personal identifying information redacted).

       20.     Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.

IV.    FACTUAL ALLEGATIONS

       21.     Plaintiff began working at Defendants on or about April 30, 2012.

       22.     Throughout Plaintiff’s employment, she held the position of Chief

Marketing Officer.

       23.     Since in or about January 2013, Plaintiff reported directly to Patrick

Stapleton, Partner. In or about January 2018, Plaintiff also started reporting directly to

Andrew Indeck, Firm Chair, while continuing to report to Stapleton as well.

       24.     At all times material hereto, Plaintiff consistently demonstrated excellent

performance throughout her employment with Defendants.

       25.     In or around early 2018, Plaintiff’s direct report, Bisa Lindsay (Black),

Marketing Coordinator, resigned from her employment at Defendants.




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        26.    Lindsey told Plaintiff that, during her exit interview, while she had praised

Plaintiff’s performance as her supervisor, she complained of Defendants’ race

discriminatory conduct, including the following:

               (a)    Defendants did not support their minority employees;

               (b)    Lindsey, as a Black woman, did not feel comfortable working at

Defendants; and,

               (c)    She did not feel that Defendants valued their employees of color.

        27.    After Lindsey resigned, Plaintiff became aware that Defendants had

received an anonymous letter accusing them of treating non-white employees in a less

favorable manner than white employees. The letter also asked whether they had taken

any action in connection with the complaints that Lindsey had raised in her exit

interview.

        28.    After the resignation of Plaintiff’s direct report and the anonymous letter

accusing Defendants of racism, Defendants met with their employees and stated only that

Defendants did not discriminate on the basis of race.

        29.    To Plaintiff’s knowledge and belief, Defendants did not take any other

action in connection with the allegations that Defendants treated their Black and other

non-white employees less favorably than their white employees.

        30.    In or around September 2018, Defendants transferred Jennifer Williams

(Black) into the position of Coordinator in the Marketing Department to report to

Plaintiff.

        31.    In or around June 2019, Defendants hired Chelsea Seidel (white) into the

position of Assistant in the Marketing Department to report to Plaintiff.




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       32.     In or about July 2019, Plaintiff learned that Williams was being

compensated substantially less than Seidel.

       33.     Williams had been employed at Defendants for approximately two (2)

years longer than Seidel.

       34.     Williams was also at a higher level (Coordinator) than Seidel (Assistant).

       35.     Plaintiff repeatedly raised the disparity in compensation between her

Black and white direct reports to Defendants and told Defendants that they should rectify

the same.

       36.     Specifically, in or around July 2019 and September 2019, Plaintiff

complained that her Black direct report (Williams) was being compensated less than her

white direct report (Seidel), that the disparity was due to race, and that Defendants should

correct the same immediately.

       37.     Defendants responded to Plaintiff that they were aware of the situation and

that they would not fix the disparity in the compensation.

       38.     Defendants retaliated against Plaintiff in connection with her complaints

of race discrimination in connection with her direct reports’ compensation, including that

which is set forth below.

       39.     Defendants’ managers ignored Plaintiff and excluded her from

communications related to her job responsibilities.

       40.     Defendants’ managers unjustly criticized Plaintiff and blamed her for

issues that were outside of her control and/or responsibility.

       41.     Defendants undermined Plaintiff’s authority including by preventing her

from taking action that she felt appropriate regarding her direct reports.




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       42.      In or around January 2020, Plaintiff learned that Defendants had posted

her position.

       43.      When Plaintiff asked Indeck about the posting, he stated that Defendants

had not made any decisions regarding her employment at that time.

       44.      On or about March 27, 2020, Defendants informed Plaintiff that they were

terminating her employment, effective April 17, 2020.

       45.      Defendants told Plaintiff that they had already hired her replacement.

They instructed her that she was to train her replacement until the effective date of her

termination.

       46.      Defendants failed to provide Plaintiff with an explanation as to why they

terminated her employment. They told Plaintiff that her termination was not “Covid-

related”.

       47.      When Defendants provided Plaintiff with a “Transitional Employment

Agreement” that offered her severance in exchange for a release of all of her claims, it

falsely stated that Defendants and Plaintiff had “mutually agreed” to end her

employment.

       48.      On or about April 7, 2020, Defendants asked Plaintiff if she wanted to

submit a letter of resignation. Plaintiff responded that she would not submit a letter of

resignation, as she did not resign and it was not her decision to separate her employment

with Defendants.

       49.      Defendants replaced Plaintiff with an individual who was approximately

twenty five (25) years younger, and less qualified, than Plaintiff.

       50.      At around the same time that Defendants terminated Plaintiff’s




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employment, they also terminated the employment of other older employees, all of whom

were, to Plaintiff’s information and belief, over the age of fifty (50).

       51.     To Plaintiff’s information and belief, she was the oldest employee

reporting to Indeck and Stapleton.

       52.     Plaintiff’s age was a motivating and/or determinative factor in connection

with Defendant’s discriminatory treatment of Plaintiff, including terminating her

employment.

       53.     Plaintiff’s complaints about Defendants’ discriminatory conduct were

motivating and/or determinative factors in connection with Defendant’s retaliatory

conduct to which Plaintiff was subjected, including terminating her employment.

       54.     Defendants failed to prevent or address the discriminatory and retaliatory

conduct referred to herein and further failed to take corrective and remedial measures to

make the workplace free of discriminatory and retaliatory conduct.

       55.     The retaliatory actions taken against Plaintiff after she complained of

discriminatory conduct would have discouraged a reasonable employee from

complaining of discrimination.

       56.     As a direct and proximate result of the discriminatory and retaliatory

conduct of Defendants, Plaintiff has in the past incurred, and may in the future incur, a

loss of earnings and/or earning capacity, loss of benefits, pain and suffering,

embarrassment, humiliation, loss of self-esteem, mental anguish, and loss of life’s

pleasures, the full extent of which is not known at this time.




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                                      COUNT I – Title VII

        57.       Plaintiff incorporates herein by reference paragraphs 1 through 56 above,

as if set forth herein in their entirety.

        58.     By committing the foregoing acts of retaliation against Plaintiff, Defendants

have violated Title VII.

        59.       Said violations were done with malice and/or reckless indifference.

        60.       As a direct and proximate result of Defendants’ violation of Title VII,

Plaintiff has suffered the damages and losses set forth herein and has incurred attorneys’

fees and costs.

        61.       Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendants’ retaliatory acts unless and until this Court

grants the relief requested herein.

        62.       No previous application has been made for the relief requested herein.

                                   COUNT II – Section 1981

        63.       Plaintiff incorporates herein by reference paragraphs 1 through 62 above,

as if set forth herein in their entirety.

        64.       By committing the foregoing acts of retaliation, Defendants have violated

Section 1981.

        65.       Said violations were done with malice and/or reckless indifference, and

warrant the imposition of punitive damages.

        66.       As a direct and proximate result of Defendants’ violation of Section 1981,

Plaintiff has suffered the damages and losses set forth herein and has incurred attorneys’

fees and costs.




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        67.       Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendants’ retaliatory acts unless and until this Court

grants the relief requested herein.

        68.       No previous application has been made for the relief requested herein.

                                      COUNT III - ADEA

        69.       Plaintiff incorporates herein by reference paragraphs 1 through 68 above,

as if set forth herein in their entirety.

        70.       By committing the foregoing acts of discrimination against Plaintiff,

Defendants have violated the ADEA.

        71.       Said violations were willful and warrant the imposition of liquidated

damages.

        72.       As a direct and proximate result of Defendants’ violation of the ADEA,

Plaintiff has suffered the damages and losses set forth herein and has incurred attorney’s

fees and costs.

        73.       Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendants’ discriminatory acts unless and until this

Court grants the relief requested herein.

        74.       No previous application has been made for the relief requested herein.

                                      COUNT IV – PHRA

        75.    Plaintiff incorporates herein by reference paragraphs 1 through 74 above,

as if set forth herein in their entirety.

        76.   Defendants, by the above improper and discriminatory and retaliatory acts,

have violated the PHRA.




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        77.    Said violations were intentional and willful.

        78.    As a direct and proximate result of Defendants’ violation of the

PHRA, Plaintiff has sustained the injuries, damages, and losses set forth herein and has

incurred attorneys’ fees and costs.

        79.    Plaintiff is now suffering and will continue to suffer irreparable injuries

and monetary damages as a result of Defendants’ discriminatory and retaliatory acts

unless and until the Court grants the relief requested herein.

        80.   No previous application has been made for the relief requested herein.

                                      COUNT V – PFPO

        81.     Plaintiff incorporates herein by reference paragraphs 1 through 80 above,

as if set forth herein in their entirety.

        82.     Defendants, by the above improper and discriminatory and retaliatory acts,

have violated the PFPO.

        83.     Said violations were intentional and willful.

        84.     As a direct and proximate result of Defendants’ violation of the PFPO,

Plaintiff has sustained the injuries, damages, and losses set forth herein and has incurred

attorney’s fees and costs.

        85.     Plaintiff is now suffering and will continue to suffer irreparable injuries

and monetary damages as a result of Defendants’ discriminatory and retaliatory acts

unless and until the Court grants the relief requested herein.

        86.     No previous application has been made for the relief requested herein.




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                                           RELIEF

        WHEREFORE, Plaintiff seeks damages and legal and equitable relief in

connection with Defendants’ improper conduct, and specifically prays that the Court

grant the following relief to the Plaintiff by:

        (a)     declaring the acts and practices complained of herein to be

in violation of Title VII;

        (b)     declaring the acts and practices complained of herein to be in violation of

Section 1981;

        (c)     declaring the acts and practices complained of herein to be in violation of

the ADEA;

        (d)     declaring the acts and practices complained of herein to be in violation

of the PHRA;

        (e)     declaring the acts and practices complained of herein to be in violation of

the PFPO;

        (f)     enjoining and permanently restraining the violations alleged herein;

        (g)     entering judgment against the Defendants and in favor of the Plaintiff in

an amount to be determined;

        (h)     awarding compensatory damages to make the Plaintiff whole for all lost

earnings, earning capacity, and benefits, past and future, which Plaintiff has suffered or

may suffer as a result of Defendants’ improper conduct;

        (i)     awarding compensatory damages to Plaintiff for past and future pain and

suffering, emotional upset, mental anguish, humiliation, and loss of life’s pleasures,

which Plaintiff has suffered or may suffer as a result of Defendants’ improper conduct;




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       (j)     awarding punitive damages to Plaintiff under Title VII;

       (k)     awarding punitive damages to Plaintiff under Section 1981;

       (l)     awarding liquidated damages to Plaintiff under the ADEA;

       (m)     awarding Plaintiff such other damages as are appropriate under Title VII,

Section 1981, the PHRA, and the PFPO;

       (n)     awarding Plaintiff the costs of suit, expert fees, and other disbursements,

and reasonable attorneys’ fees; and,

       (o)     granting such other and further relief as this Court may deem just, proper,

or equitable including other equitable and injunctive relief providing restitution for past

violations and preventing future violations.



                                                CONSOLE MATTIACCI LAW, LLC



Dated: July 2, 2021                    BY:      ____________________________
                                                Caren N. Gurmankin (205900)
                                                1525 Locust Street, 9th Floor
                                                Philadelphia, PA 19102
                                                (215) 545-7676

                                                Attorney for Plaintiff,
                                                Ellen Ragone




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                 Exhibit “2”
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 EEOC Form 161-B (11/2020)                U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To:     Ellen S. Ragone                                                               From:    Philadelphia District Office
                                                                                               801 Market Street
        Cherry Hill, NJ 08003                                                                  Suite 1000
                                                                                               Philadelphia, PA 19107




                  On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                           Telephone No.

                                                         Damon A. Johnson,
 17F-2021-60052                                          State & Local Program Manager                                 (267) 589-9722
                                                                                   (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

        X         More than 180 days have passed since the filing of this charge.

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
        X         The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
        X         The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

                  The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                        On behalf of the Commission


                                                                                                                     May 3, 2021
 Enclosures(s)                                                          Dana R. Hutter,                                       (Date Issued)
                                                                        Deputy Director

 cc:

              For Respondent:                                                         For Charging Party:
              Geralyn Brown                                                           Caren Gurmankin
              Chief Operating Officer                                                 CONSOLE MATTIACI LAW
              WEBER GALLAGHER                                                         Via email only: gurmankin@consolelaw.com
              2000 Market Street, Suite 1300
              Philadelphia, PA 19103
